                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION
United States of America,                    )
                                 Plaintiff,  )
vs.                                          ) Case No. 08-0026-02-CR-W-FJG
Cynthia S. Martin, Troy R. Solomon and )                 -03-
Delmon L. Johnson,                           )                 -05-
                                 Defendants. )

                                        ORDER
        Pending before the Court are:
        1.    Defendant Martin’s motion to dismiss for failure to state an offense as to
counts two and twenty-one through twenty-four (Doc. #57), filed June 16, 2008;
        2.    Defendant Johnson’s motion to quash indictment (Doc. #64), filed June 16,
2008;
        3.    Defendant Solomon’s motion to quash indictment (Doc. #65), filed June 16,
2008; and
        4.    Defendant Solomon’s motion to dismiss count two for failure to state an
offense (Doc. #98), filed August 29, 2008.
        The government has filed responses to all of the above motions except defendant
Solomon’s motion to dismiss (Doc. #98). Defendant Martin has filed a reply (Doc.#86) to
the government’s response (Doc. #79) to her motion to dismiss for failure to state an
offense (Doc. #57).
        On December 10, 2008, United States Magistrate Judge Sarah W. Hays entered a
report and recommendation (Doc. #151) which recommended denying the above-
mentioned motions. Defendant Martin filed objections to Magistrate Judge Hays’ report
and recommendation on December 22, 2008 (Doc. #167). Defendants Solomon and
Johnson filed joint objections on that same date (Doc. #168).
        The Court, after independent review of the record and applicable law, adopts and
incorporates by reference herein, the magistrate’s findings and conclusions. Therefore, the
Court finds that defendant Martin’s motion to dismiss for failure to state an offense as to
counts two and twenty-one through twenty-four (Doc. #57); defendant Solomon’s motion
to dismiss count two for failure to state an offense (Doc. #98); defendant Johnson’s motion
       Case 4:08-cr-00026-FJG Document 180 Filed 02/09/09 Page 1 of 2
to quash indictment (Doc. #64) and defendant Solomon’s motion to quash indictment (Doc.
#65) should be denied.
       Accordingly, it is
       ORDERED that the magistrate’s findings and conclusions are hereby adopted and
incorporated herein by reference. It is further
       ORDERED that defendant Martin’s motion to dismiss for failure to state an offense
as to counts two and twenty-one through twenty-four (Doc. #57); defendant Solomon’s
motion to dismiss count two for failure to state an offense (Doc. #98); defendant Johnson’s
motion to quash indictment (Doc. #64) and defendant Solomon’s motion to quash
indictment (Doc. #65) are denied.


                                                  /s/Fernando J. Gaitan, Jr.
                                                  Judge Fernando J. Gaitan, Jr.
                                                  Chief United States District Judge

Dated: 2/9/2009
Kansas City, Missouri




      Case 4:08-cr-00026-FJG        Document 180       Filed 02/09/09   Page 2 of 2
